

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD - 0045-11






CHRISTOPHER DONTE LOUD,  Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HILL COUNTY





		Per curiam.  Keasler and Hervey, J.J., dissent


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b)
because the original petition is not accompanied by 11 copies..

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.


Filed: July 27, 2011

Do Not Publish.



